              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT



                         JUSTIN SHANE NELSON,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.


                             No. 2D2023-1406


                              August 23, 2024

Appeal from the Circuit Court for Pinellas County; Chris Helinger, Judge.

Howard L. Dimmig, II, Public Defender, and Richard J. Sanders,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Cynthia Richards,
Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.



NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.



Opinion subject to revision prior to official publication.
